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       State Bar Of California;
            see attached Addendum I.




                                                    (2nd Amended Complaint)




    See attached Addendum II.




                       Michael Mogan
                       4803 N. Milwaukee Ave
                       Suite B, Unit #244
                       Chicago, IL 60630
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                                             Addendum I
               Defendants

    1. George Cardona, in his oﬃcial
       capacity as Chief Trial Counsel
       For the State Bar of California,
        and in his individual capacity;
    2. Christopher Jagard, in his oﬃcial
       capacity as Deputy Chief Trial
       Counsel for the Oﬃce of the Chief
       Trial Counsel and in his individual
       capacity;

    3. Kevin Taylor, in his in his oﬃcial
       capacity as Assistant Chief Trial
       Counsel for the Oﬃce of the Chief
       Trial Counsel and in his individual
       capacity;

    4. Elizabeth S ne, in her oﬃcial
       capacity as Supervising A orney
       and for the Oﬃce of the Chief
       Trial Counsel and in his individual
       capacity;

    5. Leah T. Wilson, in her oﬃcial
       capacity as the execu ve director
       for the State Bar Of California
       and in her individual capacity;

   6.    Ruben Duran, in his oﬃcial
        capacity as a member of the
        State Bar of California Board
        of Trustees and in his individual
        capacity;

   7.   Brandon Stallings,in his oﬃcial
        capacity as a member of the
        State Bar of California Board
        of Trustees and in his individual
        capacity;

   8.   Mark Broughton, in his oﬃcial
        capacity as a member of the
        State Bar of California Board
        of Trustees and in his individual
        capacity;
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   9.   Raymond Buenaventura, in his
        Oﬃcial capacity as a member of
        the State Bar of California Board
        of Trustees and in his individual
        capacity;

  10.   Hailyn Chen, in her oﬃcial
        capacity as a member of the
        State Bar of California Board
        of Trustees and in his individual
        capacity;

  11.   Jose Cisneros, in his oﬃcial
        capacity as a member of
        the State Bar of California Board
        of Trustees and in his individual
        capacity;

  12.   Sarah Good, in her oﬃcial
        capacity as a member of the
        State Bar of California Board
        of Trustees and in his individual
        capacity;

  13.   Gregory Knoll, in his oﬃcial
        capacity as a member of
        the State Bar of California Board
        of Trustees and in his individual
        capacity;

  14.   Melanie M. Shelby, in her oﬃcial
        capacity as a member of the
        State Bar of California Board
        of Trustees and in his individual
        capacity;

  15.   Arnold Sowell Jr., in his oﬃcial
        capacity as a member of
        the State Bar of California Board
        of Trustees and in his individual
        capacity;

  16.   Mark W. Toney, in his oﬃcial
        capacity as a member of
        the State Bar of California Board
        of Trustees and in his individual
        capacity;
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  17.   Genaro Trejo, in his oﬃcial
        capacity as a member of
        the State Bar of California Board
        of Trustees and in his individual
        capacity;

  18.   Patricia Guerrero, Chief Jus ce of
        the California Supreme Court;

  19.   Carol A. Corrigan, Associate
        Jus ce of the California Supreme
        Court;

  20.   Goodwin H. Liu, Associate Jus ce
        of the California Supreme Court;

  21.   Leondra R. Kruger, Associate
         Jus ce of the California Supreme
         Court;

  22.   Joshua P. Groban, Associate
        Jus ce of the California
         Supreme Court;

  23.   Mar n J. Jenkins, Associate
        Jus ce of the California Supreme
        Court;

  24.   Kelli Eva, Associate Jus ce
        of the California Supreme Court.
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                                                Addendum II

 Defendants’ name and addresses

 1. George Cardona, 180 Howard St., San Francisco, CA 94105.
 2. Christopher Jagard, 180 Howard St., San Francisco, CA 94105.
 3. Kevin Taylor, 180 Howard St., San Francisco, CA 94105.
 4. Elizabeth S ne, 180 Howard St., San Francisco, CA 94105.
 5. Leah T. Wilson, 180 Howard St., San Francisco, CA 94105.
 6. Ruben Duran, 180 Howard St., San Francisco, CA 94105.
 7. Brandon Stallings, 180 Howard St., San Francisco, CA 94105.
 8. Mark Broughton, 180 Howard St., San Francisco, CA 94105.
 9. Raymond Buenaventura, 180 Howard St. San Francisco, CA 94105.
 10. Hailyn Chen, 180 Howard St., San Francisco, CA 94105.
 11. Jose Cisneros, 180 Howard St., San Francisco, CA 94105.
 12. Sarah Good, 180 Howard St., San Francisco, CA 94105.
 13. Gregory Knoll, 180 Howard St., San Francisco, CA 94105.
 14. Melanie M. Shelby, 180 Howard St., San Francisco, CA 94105.
 15. Arnold Sowell Jr., 180 Howard St. San Francisco, CA 94105.
 16. Mark W. Toney, 180 Howard St., San Francisco, CA 94105.
 17. Genaro Trejo, 180 Howard St., San Francisco, CA 94105.
 18. Patricia Guerrero, 350 McCallister Street, San Francisco, CA 94102.
 19. Carol A. Corrigan, 350 McCallister Street, San Francisco, CA 94102.
 20. Goodwin H. Liu, 350 McCallister Street, San Francisco, CA 94102.
 21. Leondra R. Kruger, 350 McCallister Street, San Francisco, CA 94102.
 22. Joshua P. Groban, 350 McCallister Street, San Francisco, CA 94102.
 23. Mar n J. Jenkins, 350 McCallister Street, San Francisco, CA 94102.
 24. Kelli Eva, 350 McCallister Street, San Francisco, CA 94102.
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